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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION



     UNITED STATES OF AMERICA

     v.                                               CASE NO.: 8:98-cr-228-T-23EAJ

     ANDRE SCRUGGS
                                                /



                                            ORDER

           The United States filed a motion pursuant to Rule 35(b), Federal Rules of

     Criminal Procedure, and 18 U.S.C. § 3553(e) to reduce the defendant's sentence

     (Doc. 1222). The motion is GRANTED to the extent that the defendant's sentence is

     reduced to 70 months, which is a reasonable sentence and which is sufficient, but not

     greater than necessary, to achieve the purposes specified in 18 U.S.C. § 3553(a). All

     other terms and conditions of the defendant's sentence remain unchanged.

           The defendant's "Motion to Compel Specific Performance" (Doc. 1213) is

     DENIED AS MOOT.

           ORDERED in Tampa, Florida, on December 28, 2006.
